         Case 1:16-cr-02006-EFS           ECF No. 416        filed 07/19/16      PageID.1095 Page 1 of 2
O PS 8
(3/15)
                                                                                                           FILED IN THE
                              UNITED STATES DISTRICT COURT                                             U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON



                                                            for                                     Jul 19, 2016
                                           Eastern District of Washington                             SEAN F. MCAVOY, CLERK




U.S.A. vs.                 PARISIAN, Leslee Faye                        Docket No.            1:16-CR-02006-EFS-8

                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Leslee Parisian, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge Mary
K. Dimke in the Court at Yakima, Washington, on the 1st day of June 2016, under the following conditions:

Condition #6: Defendant shall not commit any offense in violation of federal, state or local law.

Condition #17: Defendant shall refrain from any use of alcohol.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant is alleged to be in violation of her conditions of pretrial supervision in the Eastern District of Washington
by:

Violation #1: Being arrested for reckless driving on July 14, 2016.

Violation #2: Consuming alcohol on July 14, 2016.

                            REQUESTING A SUMMONS BE ORDERED AT THIS TIME
                                                                          I declare under the penalty of perjury that the
                                                                          foregoing is true and correct.
                                                                          Executed on:      July 19, 2016
                                                                  by      s/Linda Leavitt
                                                                          Linda J. Leavitt
                                                                          U.S. Pretrial Services Officer
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THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[ X] The Issuance of a Summons
[ ]  The incorporation of the violations contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other



                                                                  Signature of Judicial Officer

                                                                  7/19/2016
                                                                  Date
